Appeal from the verdict of a jury and judgment thereon in a will contest, holding John H. Gordon incompetent to *Page 524 
execute the will and revoking letters testamentary thereto fore issued. But one question is presented on this appeal: Are the verdict and judgment sustained by the evidence?      1, 2 No useful purpose would be subserved by setting forth the testimony of the various witnesses. We have read the record carefully. The evidence is in conflict, but the jury could well have come to the conclusion it did. It is not for us to weigh the evidence and substitute our judgment for that of the jury and trial court.
The judgment is affirmed. Costs to respondents.
MOFFAT, C.J., and WOLFE, McDONOUGH, and PRATT, JJ., concur.